Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 1 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 2 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 3 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 4 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 5 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 6 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 7 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 8 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                          Document     Page 9 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 10 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 11 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 12 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 13 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 14 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 15 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 16 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 17 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 18 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 19 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 20 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 21 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 22 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 23 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 24 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 25 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 26 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 27 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 28 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 29 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 30 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 31 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 32 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 33 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 34 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 35 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 36 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 37 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 38 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 39 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 40 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 41 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 42 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 43 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 44 of 45
Case 14-19694   Doc 1   Filed 05/27/14 Entered 05/27/14 15:09:58   Desc Main
                         Document     Page 45 of 45
